     Case 2:09-cr-00185-JAD-CWH      Document 301     Filed 09/28/12   Page 1 of 1




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 4                        UNITED STATES DISTRICT COURT
 5                                 DISTRICT OF NEVADA
 6                                          ***
 7   UNITED STATES OF AMERICA,                )
                                              )      2:09-CR-00185-PMP-LRL
 8                   Plaintiff,               )
                                              )
 9   vs.                                      )            ORDER
                                              )
10   CARL VON BRADLEY, et al.,                )
                                              )
11                                            )
                     Defendant                )
12                                            )
13            IT IS ORDERED that Defendant Carl Von Bradley’s Motion for
14   Reconsideration (Doc. #298) is GRANTED to the extent that Defendant Bradley
15   shall have to and including November 5, 2012 within which to file a supplemental
16   brief in support of his Motion to Vacate (Doc. #278), based upon the Affidavit of his
17   former counsel (Doc. #289).
18   DATED: September 28, 2012.
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                                                     PHILIP M. PRO
22                                                   United States District Judge
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